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     COLE SCHOTZ P.C.                                          HAYNES AND BOONE, LLP
     Michael D. Sirota, Esq. (NJ Bar No. 014321986)            Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Warren A. Usatine, Esq. (NJ Bar No. 025881995)            Kenric D. Kattner, Esq. (admitted pro hac vice)
     Court Plaza North, 25 Main Street                         30 Rockefeller Plaza, 26th Floor
     Hackensack, New Jersey 07601                              New York, New York 10112
     (201) 489-3000                                            (212) 659-7300
     msirota@coleschotz.com                                    richard.kanowitz@haynesboone.com
     wusatine@coleschotz.com                                   kenric.kattner@haynesboone.com

     KIRKLAND & ELLIS LLP                                      Proposed Attorneys for Debtors and
     KIRKLAND & ELLIS INTERNATIONAL LLP                        Debtors in Possession
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     Christine A. Okike, P.C. (admitted pro hac vice)
     601 Lexington Avenue
     New York, New York 10022
     (212) 446-4800
     jsussberg@kirkland.com
     christine.okike@kirkland.com

     Proposed Attorneys for Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BLOCKFI INC., et al.,                                          Case No. 22-19361 (MBK)

                                      Debtors.1                 (Jointly Administered)



                  DEBTORS’ REPLY TO THE UNITED STATES TRUSTEE’S
              OBJECTION TO THE DEBTORS’ BIDDING PROCEDURES MOTION

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

 submit this reply in support of the Debtors’ Motion Seeking Entry of an Order (I) Approving the

 Bidding Procedures and Related Dates and Deadlines, (II) Scheduling Hearings and Objection

 Deadlines with Respect to the Debtors’ Sale, Disclosure Statement, and Plan Confirmation, and



 1
       The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
       LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC
       (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service
       address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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 (III) Granting Related Relief [Docket No. 226] (the “Bidding Procedures Motion”) and in

 response to the United States Trustee’s Objection to the Debtors’ Motion Seeking Entry of an

 Order (I) Approving the Bidding Procedures and Related Dates and Deadlines, (II) Scheduling

 Hearings and Objection Deadlines With Respect to the Debtors’ Sale, Disclosure Statement and

 Plan Confirmation, and (III) Granting Related Relief [Docket No. 406] (the “Objection”) filed by

 the United States Trustee for the District of New Jersey (the “U.S. Trustee”) 2. In support of this

 reply, the Debtors state the following:3

                                            Preliminary Statement

         1.       The Debtors’ goal in these cases is to maximize the value available to their

 stakeholders, including clients, on as swift of a timeline as possible. The proposed Bidding

 Procedures are designed to establish an appropriate process to identify the highest and best value

 for sales of each of the Debtors’ Assets. The proposed procedures strike a balance between the

 time needed to facilitate a competitive marketing and sale process that will deliver as much value

 as possible to the Debtors’ stakeholders with the desire to progress these chapter 11 cases

 expeditiously. In their design, the Debtors attempted to balance the expectations of potential

 purchasers in the market with the requirements for notice under the Bankruptcy Code.

         2.       The Debtors are currently marketing or consider marketing three different

 categories of assets for a potential sale or monetization: (a) the Debtors’ mining assets; (b) the



 2
     The Committee objection titled the Limited Objection of the Official Committee of Unsecured Creditors to the
     Debtors’ Motion Seeking Entry of an Order (I) Approving the Bidding Procedures and Related Dates and
     Deadlines, (II) Scheduling Hearings and Objection Deadlines With Respect to the Debtors’ Sale, Disclosure
     Statement, and Plan Confirmation, and (III) Granting Related Relief filed at Docket No. 385 has been fully
     resolved.

 3
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Plan, the First Day
     Declaration, the Bidding Procedures Motion, the Bidding Procedures, the Tichenor Declaration (as defined
     herein), and the Objection, as applicable.



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 Debtors’ customer platform; and (c) certain claims that the Debtors may hold, among others. To

 date, the Debtors have reached out to over 200 potential parties about potential transactions for

 certain of the Debtors’ Assets, executed over seventy confidentiality agreements with potential

 counterparties, and are well‑positioned to proceed with sales for each of these asset categories in

 the immediate future if the Debtors determine that to be the most value‑maximizing path forward.

 The Debtors have also worked closely with the Committee on the proposed Bidding Procedures

 and have made certain modifications to incorporate their comments, as reflected in the revised

 form of order filed contemporaneously herewith (the “Revised Proposed Order”).

        3.      The Debtors have also worked closely with the U.S. Trustee in an effort to resolve

 its Objection over the past week. Those discussions have been productive, and the Debtors and

 the U.S. Trustee have narrowed many of the issues that were raised in its Objection. The sole

 remaining issue in contention is the timing of the proposed Bid Protections. More specifically, the

 U.S. Trustee believes that it is premature to approve Bid Protections when no Stalking Horse

 Bidder has yet been selected. The U.S. Trustee’s position ignores the practical realities the Debtors

 are facing and the need to act as swiftly as possible in consummating a restructuring transaction.

 The Debtors are prepared to demonstrate that the Bid Protections, including the amount and timing

 thereof, are designed to maximize value, are in line with the expectations of buyers in the market,

 and have been approved by courts in this and other jurisdictions. The ability to designate a Stalking

 Horse Bidder is essential to allow the Debtors to enter into an auction with certainty, while

 simultaneously setting a floor for a competitive bidding process. Given the volatility in the

 cryptocurrency space, time is not on the Debtors’ side—the proposed Bidding Procedures,

 including the proposed Bid Protections, are necessary and astutely tailored to ensure that the

 Debtors can secure a buyer to maximize the value of their assets.




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          4.        For these reasons, as well as the reasons set forth herein, the Objection should be

 overruled.

                                                             Reply

 I.       The Bidding Procedures Reflect the Debtors’ Sound Business Judgment and Are
          Designed to Maximize Value.

          5.        Procedures intended to enhance competitive bidding are consistent with the goal of

 maximizing the value of the estate and are appropriate in the context of bankruptcy transactions. 4

 Courts approve such procedures if they are supported by a sound business justification. 5 The

 proposed Bidding Procedures permit the Debtors to offer customary Bid Protections to preserve

 and maximize the value of the Debtors’ estates, and such Bid Protections are only offered after a

 Stalking Horse Notice is filed with the Court, all parties are given notice and an opportunity to

 object, and an order is entered.6 These proposed Bidding Procedures were carefully designed to


 4
      See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir 2004) (debtor-in-possession “had a fiduciary duty to
      protect and maximize the estate’s assets”); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. July
      15, 2021) (“The Bidding Procedures . . . are fair, reasonable, and appropriate under the circumstances and
      designed to maximize value for the benefit of the Debtors’ estates, their creditors, and other parties in interest.”);
      In re Dura Automotive Sys., Inc., No. 06-11202, 2007 WL 7728109, at *90 (Bankr. D. Del. Aug. 15, 2007)
      (recognizing that bidding procedures “intended to enhance competitive bidding are consistent with the goal of
      maximizing the value received by the estate and therefore are appropriate in the context of bankruptcy sales”);
      Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650,
      659 (S.D.N.Y. 1992) (bidding procedures “are important tools to encourage bidding and to maximize the value
      of the debtor’s assets”).

 5
      See In re Culp, 550 B.R. 683, 697 (D. Del. 2015) (“‘In determining whether to authorize use, sale or lease of
      property of the estate under Section 363, courts require the [debtor] to show that a sound business purpose justifies
      such actions.’ If the [debtor’s] decision evidences a sound business purpose, then the Bankruptcy Court should
      approve the sale.”) (quoting In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999));
      In re Martin, 91 F.3d 389, 395 (3d Cir. 1996) (citing In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991)); Schipper,
      933 F.2d at 515 (internal citations and quotations omitted) (“Under Section 363, the debtor in possession can sell
      property of the estate . . . if he has an ‘articulated business justification’ . . . .”); see also Integrated Res., 147 B.R.
      650, 656–57 (S.D.N.Y. 1992) (noting that bidding procedures negotiated by a debtor are reviewed under the
      deferential “business judgment” standard, under which such procedures and arrangements are “presumptively
      valid”).

 6
      See In re Energy Future Holdings Corp., 904 F.3d 298 (3d Cir. 2018) (holding that “[T]he allowability of break-
      up fees . . . depends upon the requesting party’s ability to show that the fees [a]re actually necessary to preserve
      the value of the estate.”) (internal quotations omitted) (alterations in original); In re Reliant Energy Channelview
      LP, 594 F.3d 200, 206 (3d Cir. 2010) (“Therefore, we indicated that in considering requests for break-up fees, we
      would apply the general standard used for all administrative expenses . . . .”); In re O’Brien Env’t Energy, Inc.,


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 allow the sale process to proceed as expeditiously as possible while also providing notice to such

 parties as the process develops.

         6.       As noted in the Declaration of Brian Tichenor in Support of the Debtors’ Motion

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 Deadlines, (II) Scheduling Hearings and Objection Deadlines with Respect to the Debtors’ Sale,

 Disclosure Statement, and Plan Confirmation, and (III) Granting Related Relief (the “Tichenor

 Declaration”), the Debtors have already received several bids for their assets and expect to receive

 additional bids.       Moreover, the proposed Bidding Procedures, including prospective Bid

 Protections afforded to a Stalking Horse, are in line with market and substantially similar to

 bidding procedures approved in countless other large chapter 11 cases, including recent cases in

 the cryptocurrency space.7 There can be no serious dispute that the proposed Bidding Procedures

 are a valid exercise of the Debtors’ sound business judgment.

         7.       Initially, the U.S. Trustee objected to the timing and flexibility that the Debtors

 sought in the Bidding Procedures Motion to designate a Stalking Horse Bidder in their sole

 discretion in advance of any auction. Objection ¶¶ 23⁠–34. In response, the Debtors revised the

 proposed Bidding Procedures to provide for a Stalking Horse Notice to be filed with the Court to



     181 F.3d 527, 535 (3d Cir. 1999) (recognizing that bid protections “encourage a prospective bidder to do the due
     diligence that is the prerequisite to any bid by assuring the prospective bidder that it will receive compensation
     for that undertaking if it is unsuccessful”).

 7
     See, e.g., In re Voyager Digit. Holdings, Inc., No. 22-10943 (MEW) (Bankr. S.D.N.Y Aug. 5, 2022) (authorizing
     bid protections with three-day notice and objection period); In re GVS Texas Holdings I, LLC, No. 21-31121
     (MVL) (Bankr. N.D. Tex. Nov. 10, 2021) (requiring disclosure of bid protections prior to Auction); In re Alex
     and Ani, LLC, No. 21-10917 (CTG) (Bankr. D. Del. July 16, 2021) (permitting approval of bid protections without
     a hearing on two days’ notice of the execution of a stalking horse agreement); In re Katerra Inc., No. 21-31861
     (DRJ) (Bankr. S.D. Tex. July 6, 2021) (authorizing bid protections without an identified stalking horse of up to
     three percent of the purchase price and approving a similar scheduling construct for objections, hearings, etc.);
     In re Destination Maternity Corp., No. 19-12256 (BLS) (Bankr. D. Del. Nov. 14, 2019) (authorizing bid
     protections subject to approval on an expedited basis); In re New England Motor Freight, No. 19-12809 (JKS)
     (Bankr. D.N.J. Apr. 8, 2019) (authorizing bid protections subject to three-day notice and objection period).



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 approve the designation of a Stalking Horse Bidder, which allows for increased transparency and

 notice to parties in interest. The Debtors would then seek an order from the Court to permit such

 party to be a Stalking Horse Bidder prior to the Auction. The Debtors assert that prior to the

 Auction, Bid Protections need to be afforded to a Stalking Horse Bidder. This framework is in

 line with bid protections approved by courts in the Third Circuit and elsewhere, is the expectation

 of any potential purchaser who would seek to become a Stalking Horse Bidder, and remedies the

 U.S. Trustee’s position on timing.

         8.       The Bid Protections here will serve the same purpose that they regularly

 serve: providing the Debtors with certainty surrounding a baseline bid, ensuring that a party will

 elect to become a Stalking Horse Bidder, and properly incentivizing that party to provide that

 commitment.8 No other party has taken issue with approval of market and reasonable prospective

 Bid Protections, including the Committee, with whom the Debtors have negotiated extensively

 regarding the Bidding Procedures.

         9.       Moreover, the circumstances of this case are highly indicative of the need for a

 deliberate and decisive competitive bidding process, a goal for which a Stalking Horse Bidder is

 instrumental.      The recent string of cryptocurrency chapter 11 cases have one common

 thread⁠: cryptocurrency assets are volatile and expediency is required to maximize value from such

 assets. The Debtors need the flexibility to secure a Stalking Horse Bidder at the appropriate time

 to maximize value for their stakeholders. The Debtors are aware that additional time and fees

 expended by professionals will reduce the value of the assets and ultimate recovery of the Debtors’

 clients. The ability to designate a Stalking Horse is therefore invaluable, not only because it will



 8
     See Energy Future Holdings, 904 F.3d at 313⁠–⁠14 (recognizing three grounds on which the benefit of bid
     protections may be shown, including promoting competitive bidding and assuring that a bidder adheres to its bid).



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 provide the Debtors with certainty as to a baseline bid, but also because it will minimize the

 professional fees and efforts expended in the sale process, which will help the Debtors preserve

 value and monetize assets as quickly as possible. Any party who would conceivably be a Stalking

 Horse will likely require the typical bid protections, including the three percent Breakup Fee and

 reasonable Expense Reimbursement, contemplated by the proposed Bidding Procedures.

           10.       Although the Debtors have made certain concessions at the request of the

 U.S. Trustee to ensure the process set forth in the Revised Proposed Order represents a middle

 ground⁠, the Debtors, in a sound exercise of their business judgment, believe that the proposed Bid

 Protections, including the amount and timing thereof, reflect the expectations of the market, and

 are necessary to maximize the value of the Debtors’ estates.

 II.       The Bidding Procedures Adequately Address Privacy Concerns.

           11.       Although the Debtors have reached resolution with the U.S. Trustee surrounding

 the appointment of a consumer privacy ombudsman pursuant to sections 363(b)(1) and 332 of the

 Bankruptcy Code at the appropriate time in these cases, the Debtors need to ensure that certain

 terms of its privacy policy are reflected accurately in the record. The Objection cites to an incorrect

 section of the Debtors’ privacy policy and does not reflect the relevant terms of their policy.

 See Objection ¶¶ 22, 40. The policy must be read as a whole. 9 Although it is true that the Debtors


 9
       See, e.g., Wayne Land and Mineral Group LLC v. Delaware River Basin Commission, 894 F.3d 509, 528 (3d Cir.
       2018) (“We have explained that, for purposes of contract interpretation, [i]f the contract as a whole is susceptible
       to more than one reading, the fact finder resolves the matter, but if it is unambiguous and can be interpreted only
       one way, the court interprets the contract as a matter of law.”) (internal quotations omitted) (alteration in original);
       see also In re Touch Am. Holdings, Inc., 2017 WL 1497821, 14 (D. Del. 2017) (“A contract should be read as a
       whole to ensure that undue emphasis is not placed upon particular words and phrases . . . Courts may not by
       construction add or excise terms, nor distort the meaning of those used and thereby make a new contract for the
       parties under the guise of interpreting the writing. . . . [S]pecific clauses of a contract are to be read consistently
       with the over-all manifest purpose of the parties’ agreement. Contracts are also to be interpreted to avoid
       inconsistencies and to give meaning to all of its terms.”); Benihana of Tokyo, Inc. v. Benihana Inc., 59 F. Supp.
       3d 654, 600 (D. Del. 2014) (“In such circumstances, courts should ‘read the integrated contract as a whole to
       ensure that undue emphasis is not placed upon particular words and phrases, and to safeguard against adopting
       an interpretation that would render any individual provision superfluous.’”); Coca-Cola Bottling Co. of
       Shreveport, Inc. v. Coca-Cola Co., 769 F. Supp. 671, 705⁠–⁠06 (D. Del. 1991) (“The Court should not rewrite the


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 do not sell their clients’ information to generate marketing revenue, 10 through the policy, the

 Debtors expressly reserve the ability to transfer customer data in the event of a sale of the Debtors’

 business.11

           12.       To be clear, the Debtors are committed to protecting all of their clients’ data, which

 the U.S. Trustee acknowledges in the Objection. See Objection ¶¶ 41–43. Moreover, the Debtors

 will always comply with all laws, regulations, or other requirements in connection with any

 proposed sale transactions, and, despite the aspersions that the Objection implies, this is one of the

 Debtors’ paramount concerns.

           13.       Under the Bankruptcy Code, a consumer privacy ombudsman must be appointed if

 there is a sale or lease with the transfer of personally identifiable information and that transfer is

 prohibited under the relevant privacy policy. In relevant part, the Debtors’ policy contains the two

 following provisions, both of which contemplate that personally identifiable information may be

 transferred to a purchaser of the Debtors’ business:

                 We do not disclose your Personal Information to any third parties, except to those who
                  require access to the data in order to perform their tasks and duties, and to share with
                  third parties who have a legitimate purpose for accessing it;12 and




      contract for the parties. It is not the Court’s function to change the obligations of the parties under a contract that
      they saw fit to make. In applying the principles of contract interpretation, the Court must guard against
      inadvertently reforming a contract under the guise of construction by looking too intently for means of bringing
      about some ultimate good, thwarting an apparent wrong, or preventing hardship . . . The meaning of words is
      dependent upon their context, and the contract should be interpreted as a whole.”) (internal quotations and
      citations omitted); Consedine v. Portville Cent. Sch. Dist., 907 N.E.2d 684, 689 (2009) (“A contract should be
      read as a whole to ensure that undue emphasis is not placed upon particular words and phrases. . . . Courts ‘may
      not by construction add or excise terms, nor distort the meaning of those used and thereby make a new contract
      for the parties under the guise of interpreting the writing.’”) (internal citations omitted).

 10
      See Privacy Policy at 6.

 11
      See id. at 4, 6.

 12
      Id. at 4.



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               We may share, transfer, allow access, or disclose your Personal Information to our
                affiliate companies and third parties to . . . [t]ransfer information to a purchaser of
                our business.13

 Based on the language above, any transfer of personally identifiable information in these cases

 would not be prohibited, and an ombudsman is arguably not necessary as the policy clearly

 contemplates (a) a sale to a third party and (b) a transfer of data to third parties who have a

 legitimate purpose for accessing it, hence satisfying section 363(b)(1) of the Bankruptcy Code. 14

          14.       Indeed, only one of the Debtors’ asset packages implicates personally identifiable

 information. Any potential sale of the Debtors’ portfolio of physical mining assets, loans made to

 third-party mining or hosting companies, interests in joint venture mining operations, and claims

 against third parties does not implicate clients’ personal data.

          15.       That said, in light of their commitment to preserving customer privacy, and because

 the U.S. Trustee has made this request, the Debtors are not wholesale opposed to the appointment

 of a consumer privacy ombudsman. Nevertheless, the Debtors (and based on discussions, the

 Committee) believe that any such appointment is premature given the current timeline of the




 13
      Id. at 6. For the avoidance of doubt, this section of the privacy policy states in full, “[w]e may share, transfer,
      allow access, or disclose your Personal Information to our affiliate companies and third parties to: [a]dminister
      or process a transaction, product, or service you have authorized or requested, or in the context of facilitating the
      execution of a transaction; [v]alidate client identity as required by applicable laws and regulatory requirements;
      [f]acilitate the process for opening and maintaining client accounts (Personal Information is shared during the
      account opening process and shared on an ongoing basis thereafter); [c]arry out or aid in certain functions,
      including, but not limited to, account processing, surveillance, reconciliation, execution, document retention
      requirements, and document dissemination; [p]rocess payments that you have authorized; [o]perate, improve,
      and/or market our services and products; [o]perate, improve, and/or market our services and products; [t]ransfer
      information to a purchaser of our business; [r]esolve a deficient balance upon account closing or excessive
      insufficient funds in your account; [d]eliver goods or services relating to promotions and special offers that require
      us to collect and share your Personal Information (e.g., mailing address); [p]rovide services, including, but not
      limited to, consulting, sales, client support operations, payment processing, authentication services, and technical
      support; and [f]or other purposes which may include, but are not limited to, third-party audits, which may require
      disclosure to third parties about your account or transactions with your prior written permission.”

 14
      11 U.S.C. § 363(b)(1)(A).


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 customer platform sale process, which is still in the early stages. Accordingly, the Debtors seek

 to limit the expenditure of estate resources to pay for a new professional until the appropriate time.

        16.     The Debtors worked with the U.S. Trustee on acceptable language surrounding its

 request and will engage in good faith negotiations with respect to timing of the appointment of a

 consumer privacy ombudsman, as reflected in the Revised Proposed Order.

 III.   The U.S. Trustee’s Remaining Requests are Unwarranted.

        17.     The U.S. Trustee’s remaining requests surround the timing of a sale process that

 takes place through a plan. Although the Debtors included a confirmation schedule in the Bidding

 Procedures, such a schedule will likely be further revised when the Debtors file a motion to

 approve a disclosure statement and solicitation schedule. Accordingly, the Debtors will continue

 to engage with the U.S. Trustee on the timing under which the Debtors must serve solicitation

 packages and certifications of balloting, which timelines need to reflect the practical realities of

 providing notice to domestic and international creditors in a case of this size.

        18.     The Objection also asserts that the Debtors should be required to provide and post

 notice of any Auction at least five business days prior to any such Auction to the Qualified Bidders,

 the Committee, and the U.S. Trustee, or provides additional consultation or consent rights. This

 should be denied. As mentioned previously, this is not a normal sale process, and the Debtors

 need the flexibility to act decisively given the precarious market conditions currently facing the

 cryptocurrency industry. Thus, a two business days’ notice period, the compromise the Debtors

 reached that is currently contemplated in the Revised Proposed Order, is more in line with the fast

 nature of these sales. The Debtors remain committed to engaging with the Committee, the U.S.

 Trustee, and all key stakeholders in these chapter 11 cases with respect to the marketing and sales

 process contemplated under the proposed Bidding Procedures and will continue to do as these

 chapter 11 cases progress. But the Revised Proposed Order reflects the realities and commercial


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 considerations that are needed to run an effective sale process. Affording any more leeway, or

 adding any more obstacles, will create a needless burden for the Debtors in their attempt to

 maximize value.

        19.     Accordingly, the Objection should be overruled, and the Court should approve the

 Bidding Procedures.

                                             Conclusion

        20.     For the foregoing reasons, as well as the reasons set forth in the

 Bidding Procedures Motion and the Tichenor Declaration, the Debtors request that the Court

 (a) overrule the Objections, (b) enter the proposed Order, and (c) grant such other and further relief

 that the Court deems just and proper.



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  Dated: January 29, 2023                        /s/ Michael D. Sirota
                                                  COLE SCHOTZ P.C.
                                                  Michael D. Sirota, Esq. (NJ Bar No. 014321986)
                                                  Warren A. Usatine, Esq. (NJ Bar No. 025881995)
                                                  Court Plaza North, 25 Main Street
                                                  Hackensack, New Jersey 07601
                                                  (201) 489-3000
                                                  msirota@coleschotz.com
                                                  wusatine@coleschotz.com

                                                  KIRKLAND & ELLIS LLP
                                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                                  Christine A. Okike, P.C. (admitted pro hac vice)
                                                  601 Lexington Avenue
                                                  New York, New York 10022
                                                  (212) 446-4800
                                                  jsussberg@kirkland.com
                                                  christine.okike@kirkland.com

                                                  HAYNES AND BOONE, LLP
                                                  Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
                                                  Kenric D. Kattner, Esq. (admitted pro hac vice)
                                                  30 Rockefeller Plaza, 26th Floor
                                                  New York, New York 10112
                                                  (212) 659-7300
                                                  richard.kanowitz@haynesboone.com
                                                  kenric.kattner@haynesboone.com

                                                  Proposed Attorneys for Debtors and
                                                  Debtors in Possession
